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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

L. A. BARKSDALE                                                                          PLAINTIFF

V.                                                                          NO. 4:21-cv-00066-DAS

MISSISSIPPI DEPT. OF CORRECTION, et al                                             DEFENDANT(S)


                            ORDER SETTING SPEARS HEARING

       After reviewing the pro se complaint submitted by the plaintiff, it is

       ORDERED:

       1.       No process will issue until after the Spears hearing which is set for Thursday,

August 26, 2021 at 10:00 a.m. by video at 203 Gilmore Drive, Federal Building, Courtroom

1, Amory, Mississippi, before United States Magistrate Judge David A. Sanders.

       2.       The courtroom has video conference capability.       The facility holding the

plaintiff, whether a jail or MDOC, may transport the plaintiff to the federal courthouse or to any

video conference facility within MDOC.       The decision will be left to MDOC discretion in light

of safety and budgetary concerns.     The proceeding will be recorded by audio recording device.

Witnesses will be sworn by the deputy clerk, who will be present in the courtroom.

       3.       The plaintiff may not propound discovery requests to the defendants until

permitted to do so by the court.

       4.       If the plaintiff is awarded damages or other funds as a result of this litigation,

whether by way of satisfaction of a judgment, compromise, settlement, or otherwise, the plaintiff

will remain liable to the United States for the reimbursement of all court costs, fees and expenses

which he has caused to be incurred in the course of this litigation, and the United States will have

a lien against such damages or other moneys until the United States has been fully reimbursed

for those court costs, fees and expenses by payment into the court under 28 U.S.C. 1915(d).
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        5.       The plaintiff must acknowledge receipt of this order by signing the enclosed

acknowledgment form and returning it to the court within 14 days of this date.

        The plaintiff is warned that failure to keep the court informed of his current address may

result in the dismissal of this lawsuit.

        The plaintiff is also warned that his failure to comply with the requirements of this order

may lead to the dismissal of this lawsuit under Rule 41(b), Federal Rules of Civil Procedure, for

failure to prosecute and failure to comply with an order of the court.
        THIS, the 1st day, of June 2021.




                                                      /s/ DAVID A. SANDERS
                                                      DAVID A. SANDERS
                                                      UNITED STATES MAGISTRATE JUDGE




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